                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                              2:09 cr 29-1

UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )          ORDER
                                               )
ALBERT ESPINOZA.                               )
_______________________________                )


        THIS MATTER is before the Court pursuant to a Motion filed by the

Government entitled “Motion for Hearing Regarding Conflict of Interest” (#196). In

the Motion the United States Attorney advises that there is a potential conflict of

interest between Defendant and Defendant’s counsel, L. Aron Pena in that Mr. Pena

was also representing Humberto Longoria Moreno. Mr. Moreno is charged in a bill

of indictment in file 2:10cr14 with conspiracy to distribute marijuana and money

laundering. It is the government’s contention that Mr. Espinoza is a co-conspirator

with Mr. Moreno and as a result, Mr. Pena’s representation of both defendant’s would

create a conflict of interest. The government has further shown that Mr. Pena is

representing Mr. Espinoza in regard to an appeal which is presently before the United

States Court of Appeals for the Fourth Circuit and that the Appellate Court has

remanded this matter to the District Court for the limited purpose of conducting a

hearing pursuant to Fed.R.Crim.P.44(c) regarding the potential conflict of interest

                                         -1-


      Case 2:09-cr-00029-MR-WCM     Document 202     Filed 07/13/11   Page 1 of 5
arising out of Mr. Pena’s simultaneous representation of the alleged co-conspirator,

Mr. Moreno and Mr. Espinoza. (#195) On July 5, 2011 a hearing was conducted on

the motion at which Mr. Espinoza and Mr. Pena appeared. Mr. Moreno and attorney

Kenneth Snow of Charlotte, North Carolina, who made a general appearance for Mr.

Moreno, were in appearance and at which the government was present.

      At the hearing, the Court explained to Defendant Espinoza the nature of the

perceived conflict, and defendant’s constitutional right to conflict free counsel and

representation.   After offering such explanation, the Court afforded Defendant

Espinoza an opportunity to speak to the Court. Mr. Espinoza advised that he had no

objection to his continued representation by Mr. Pena. Mr. Pena was afforded an

opportunity to speak and Mr. Pena advised that he had filed a Motion to Withdraw in

regard to Defendant Moreno and Mr. Snow was now representing Defendant Moreno

and had made a general appearance on Mr. Moreno’s behalf.             Mr. Pena further

advised the Court that he had made no disclosures whatsoever to Defendant Espinoza

of any statements or information provided to him by Defendant Moreno and

conversely that he had no disclosures to Defendant Moreno of any statements or

information provided to him by Defendant Espinoza. Mr. Pena requested permission

of the Court to continue to represent Defendant Espinoza and to be allowed to

withdraw as counsel for Defendant Moreno. The Court afforded Defendant Moreno



                                         -2-


   Case 2:09-cr-00029-MR-WCM        Document 202     Filed 07/13/11     Page 2 of 5
an opportunity to speak and Defendant Moreno advised that he had no objection to

Mr. Pena being allowed to withdraw as his attorney and for Mr. Pena to continue to

represent Defendant Espinoza in regard to Defendant Espinoza’s appeal. Mr. Snow

advised the undersigned that he was making a general appearance on behalf of

Defendant Moreno and would be representing him further in this matter.

      After hearing from defendants and respective counsel, the Court afforded

Defendant Espinoza an additional opportunity to speak, to confer with Mr. Pena, or

ask the Court any questions that Defendant Espinoza might have. Defendant Espinoza

advised the Court that he understood his rights regarding a conflict free representation

and that Defendant Espinoza desired that Mr. Pena be allowed to continue to represent

him in his capacity as counsel of record in regard to the appeal. Upon request of the

undersigned, Defendant Espinoza executed a document entitled Waiver of Right to

Conflict Free Representation (#200).

      Rule 44(c) requires the Court to take prompt action when the possibility of a

conflict of interest arises in a criminal matter:

      (2)    The Court’s Responsibilities in Cases of Joint Representation

      The court must promptly inquire about the propriety of joint
      representation and must personally advise each defendant of the right to
      the effective assistance of counsel, including separate representation.
      Unless there is good cause to believe that no conflict of interest is likely
      to arise, the court must take appropriate measures to protect each
      defendant’s right to counsel.

                                            -3-


   Case 2:09-cr-00029-MR-WCM          Document 202     Filed 07/13/11    Page 3 of 5
      Fed.R.Crim.P.44(c)(2).

      Based on the record before the Court as developed at the hearing, the Court

finds that Mr. Pena has filed a motion to withdraw as counsel for Defendant Moreno

and has assured the Court that he has made no disclosures whatsoever to Defendant

Espinoza of any information provided to him by Defendant Moreno or any

confidential communications made to Mr. Pena by Defendant Moreno. Mr. Pena has

further assured the court that he has not made any disclosures to Defendant Moreno

regarding any information that he obtained from Defendant Espinoza. To ensure that

there would be no possibility of a conflict of interest, Mr. Pena has filed a motion to

withdraw in regard to his representation of Defendant Moreno and Mr. Snow is now

representing Defendant Moreno in the defense of that case.

      Having conducted the inquired by Rule 44(c)(2), the Court finds there is good

cause to believe that no conflict of interest now arises. The Court finds that the

defendant has been fully informed of the nature of the perceived conflict and has made

a knowing and voluntary consent to the continuation of his representation by Mr.

Pena. The Court concurs in Defendant’s decision and will allow the continuation of

such representation.




                                          -4-


   Case 2:09-cr-00029-MR-WCM         Document 202     Filed 07/13/11   Page 4 of 5
                                     ORDER

        IT IS, THEREFORE, ORDERED that having conducted a Rule 44 inquiry,

the Court allows the continued representation of the Defendant in this matter by Mr.

Pena.



                                         Signed: July 13, 2011




                                        -5-


   Case 2:09-cr-00029-MR-WCM       Document 202      Filed 07/13/11   Page 5 of 5
